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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE


UNITED STATES OF AMERICA                   )
                                           )
               v.                          )        Case No. 1:19-CR-184-JAW
                                           )
PRANEETH MANUBOLU                          )


                     DEFENDANT’S MOTION TO AMEND BAIL

       NOW COMES Defendant, by and through undersigned counsel, and hereby

moves this Court to amend his bail to allow him to travel to Georgia and reside there, and

states as follows:

       1.     Defendant’s bail conditions currently prohibit him from traveling out of

New Jersey to any place other than Maine.

       2.     Defendant has received a job offer in Atlanta which, if accepted, would

require him to move to Atlanta to accept the offer and commence employment

immediately. Time is of the essence in accepting this offer.

       3.     USPO Laflin has reviewed the arrangements for Defendant to do so and is

in agreement that Defendant’s bail should be amended and has approved the change of

residence. USPO Laflin’s swift work in reviewing the change of residence and

employment has been second to none.

       4.     Counsel for Defendant has attempted to obtain AUSA Silver’s position

with respect to this Motion but has been unable to confirm that she does not object to the

granting of this Motion before it is being filed.
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      WHEREFORE, for the foregoing reasons, Defendant respectfully request that this

Court enter an order amending Defendant’s bail to allow him to travel to and residence in

Georgia.

      Date: October 21, 2019

                                  /s/Walter F. McKee
                                  WALTER F. MCKEE
                                  McKee Law, P.A.
                                  133 State Street
                                  Augusta, ME. 04330
                                  (207) 620-8294
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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MAINE



UNITED STATES OF AMERICA               )
                                       )
              v.                       )    Case No. 1:19-CR-184-JAW
                                       )
PRANEETH MANUBOLU                      )



                           CERTIFICATE OF SERVICE

      I hereby certify that on October 21, 2019 I electronically filed the Motion to

Amend bail with the Clerk of Court using the CM/ECF system which will send

notification of such filing to the following: United States Attorney’s Office, Bangor,

Maine.

Date: October 21, 2019


                                 /s/Walter F. McKee
                                 WALTER F. MCKEE
                                 McKee Law, P.A.
                                 133 State Street
                                 Augusta, ME. 04330
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                                 wmckee@mckeelawmaine.com
